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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

STEPHANI S. BUERGER,                      )
     Plaintiff,                           )
                                          )
v.                                        )     CIVIL ACTION 1:22-00051-KD-B
                                          )
COMERICA BANK,                            )
    Defendant.                            )

                                      JUDGMENT

      In accordance with the Order issued on this date, it is ORDERED, ADJUDGED, and

DECREED that the Plaintiff's case is DISMISSED without prejudice.

      DONE and ORDERED this the 8th day of July 2022.

                                         /s/ Kristi K. DuBose
                                         KRISTI K. DuBOSE
                                         UNITED STATES DISTRICT JUDGE
